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Information to identify the case:

Debtor 1:
                      Chaim Levilev                                              Social Security number or ITIN:   xxx−xx−0000
                                                                                 EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                        Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                              EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        Middle District of Florida                Date case filed for chapter:        7     7/25/24

Case number:           6:24−bk−03843−LVV                                         Date Notice Issued: 7/26/24


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.        Debtor's full name                     Chaim Levilev

2.        All other names used in the
          last 8 years

3.      Address                                  2 Fernmeadow Lane
                                                 Ormond Beach, FL 32174

4.      Debtor's attorney                        None
        Name and address

5.      Bankruptcy Trustee                       Gene T Chambers                                      Contact phone (407) 872−7575
        Name and address                         Post Office Box 533987
                                                 Orlando, FL 32853
Notice is further given that effective on the date of the Petition, the United States Trustee appointed the above named individual as interim
trustee pursuant to 11 USC § 701.
                                                                                                               For more information, see page 2 >
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Debtor Chaim Levilev                                                                                               Case number 6:24−bk−03843−LVV


6. Bankruptcy Clerk's Office             George C. Young Federal Courthouse                                    Office Hours: 8:30 AM to 4:00 PM
                                         400 West Washington Street                                            Monday through Friday
    Documents in this case may be filed Suite 5100
    at this address. You may inspect all Orlando, FL 32801                                                     Contact phone: 813−301−5319
    records filed in this case at this
    office or online at
    https://pacer.uscourts.gov.
               ***You are reminded that Local Rule 5073−1 restricts the entry of personal electronic devices into the Courthouse.***


7. Meeting of creditors                    September 13, 2024 at 09:30 AM                                      Location of Meeting:
                                                                                                               Meeting will be held via Zoom. Go to
    Debtors must attend the meeting to The meeting may be continued or adjourned to a later date. If           Zoom.us/join, enter meeting ID 705
    be questioned under oath. In a joint so, the date will be on the court docket.                             094 3282, and passcode 9449113494,
    case, both spouses must attend.                                                                            or call 321−448−1154
    Creditors may attend, but are not
    required to do so.
 *** Debtor must provide a Photo ID and acceptable proof of Social Security Number to the Trustee in the manner directed by the Trustee. ***
                                  *** For additional meeting information go to https://www.justice.gov/ust/moc ***


8. Presumption of abuse                    Insufficient information has been filed to date to permit the clerk to make any determination concerning the
                                           presumption of abuse. If more complete information, when filed, shows that the presumption has arisen,
                                           creditors will be notified.
    If the presumption of abuse arises,
    you may have the right to file a
    motion to dismiss the case under 11
    U.S.C. § 707(b). Debtors may rebut
    the presumption by showing special
    circumstances.


9. Deadlines                               File by the deadline to object to discharge or to                   Filing deadline: November 12, 2024
                                           challenge whether certain debts are
    The bankruptcy clerk's office must     dischargeable:
    receive these documents and any
    required filing fee by the following
    deadlines.                             You must file a complaint:
                                           • if you assert that the debtor is not entitled to
                                             receive a discharge of any debts under any of the
                                             subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                             or

                                           • if you want to have a debt excepted from discharge
                                             under 11 U.S.C § 523(a)(2), (4), or (6).

                                           You must file a motion:
                                           • if you assert that the discharge should be denied
                                             under § 727(a)(8) or (9).


                                           Deadline to object to exemptions:                                   Filing deadline: 30 days after the
                                           The law permits debtors to keep certain property as exempt.         conclusion of the meeting of creditors
                                           If you believe that the law does not authorize an exemption
                                           claimed, you may file an objection.


10. Proof of claim                         No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If it later
                                           appears that assets are available to pay creditors, the clerk will send you another notice telling you that you may
                                           file a proof of claim and stating the deadline.
    Please do not file a proof of claim
    unless you receive a notice to do
    so.


11. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.


12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                           to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at the bankruptcy
                                           clerk's office or online at https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption
                                           that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the objection by the
                                           deadline to object to exemptions in line 9.


13. Voice Case Info. System                McVCIS provides basic case information concerning deadlines such as case opening, discharge, and closing
    (McVCIS)                               dates, and whether a case has assets or not. McVCIS is accessible 24 hours a day except during routine
                                           maintenance. To access McVCIS toll free call 866−222−8029.
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